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                                   Slip Op. 22-80

          UNITED STATES COURT OF INTERNATIONAL TRADE


 GUANGDONG HONGTEO
 TECHNOLOGY CO., LTD.,

       Plaintiff,
                                          Before: Jennifer Choe-Groves, Judge
 v.
                                          Court No. 20-03776
 UNITED STATES,

       Defendant.


                            OPINION AND ORDER

[Denying Plaintiff’s counsel’s motion to withdraw as counsel.]

                                                             Dated: July 11, 2022

Lawrence R. Pilon and Serhiy Kiyasov, Rock Trade Law LLC, of Chicago, IL, for
Plaintiff Guangdong Hongteo Technology Co., Ltd.

Edward F. Kenny, Trial Attorney, Commercial Litigation Branch, Civil Division,
U.S. Department of Justice, of New York, N.Y., for Defendant United States.
With him were Brian M. Boynton, Principal Deputy Assistant Attorney General,
Patricia M. McCarthy, Director, Justin R. Miller, Attorney-in-Charge, and Aimee
Lee, Assistant Director.

      Choe-Groves, Judge: Before the Court is the Consent Motion for

Withdrawal of Attorneys (“Withdrawal Motion”), ECF No. 20, filed by counsel

for Plaintiff Guangdong Hongteo Technology Co., Ltd. (“Plaintiff” or

“Hongteo”). For the reasons discussed below, the Court denies the Withdrawal
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Motion.

                                  BACKGROUND

      Hongteo is a publicly owned company, Disclosure of Corporate Affiliations

and Financial Interest, ECF No. 3, and the owner and importer of record of the

merchandise involved in this action, Compl. ¶ 2, ECF No. 8. Plaintiff retained the

services of Rock Trade Law LLC on September 21, 2020 to represent Hongteo in

this action. Withdrawal Mot. at 1. Mr. Pilon filed his notice of appearance on

October 19, 2020. Notice of Appearance, ECF No. 4. Mr. Kiyasov filed his

notice of appearance on October 13, 2021. Notice of Appearance, ECF No. 7.

Plaintiff filed its Complaint on November 11, 2021. Compl.

                                   DISCUSSION

      Pursuant to USCIT Rule 75(d), “[t]he appearance of an attorney of record

may be withdrawn only by order of the court.” USCIT R. 75(d). “Except for an

individual (not a corporation, partnership, organization[,] or other legal entity)

appearing pro se, each party . . . must appear through an attorney authorized to

practice before the court.” USCIT R. 75(b)(1); see also Lady Kelly, Inc. v. U.S.

Sec’y of Agric., 30 CIT 82, 83, 414 F. Supp. 2d 1298, 1299 (2006) (“The rule is

well established that a corporation must always appear through counsel.”).

Granting the withdrawal of counsel motion may leave the party unrepresented in

violation of the Rules of the U.S. Court of International Trade.
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      Hongteo is a company, not an individual, and must be represented by

counsel before this Court. The only basis for withdrawal that Plaintiff’s counsel

provides is that Plaintiff has not paid outstanding legal fees. Withdrawal Mot. at 1.

Because no substitute counsel has yet been identified to replace Plaintiff’s counsel,

the Court denies the Withdrawal Motion without prejudice.

      Plaintiff is directed to notify the Court within 30 days of issuance of this

Opinion of its new counsel. Plaintiff’s counsel may refile its motion to withdraw,

and the Court is likely to dismiss Plaintiff’s case if Plaintiff fails to hire new

counsel or resolve its issues with current counsel, in light of the inability of

Plaintiff to proceed as an unrepresented party in this matter before the Court.

      Plaintiff also filed Plaintiff’s Consent Motion to Amend the Scheduling

Order (“Motion to Amend”), ECF No. 19. The Court will deny the Motion to

Amend and stay the remaining deadlines until the issue of counsel for Plaintiff is

resolved.

                                   CONCLUSION

      Upon consideration of the Withdrawal Motion, ECF No. 20, and all other

papers and proceedings in this action, it is hereby

      ORDERED that the Withdrawal Motion, ECF No. 20, is denied without

prejudice; and it is further

      ORDERED that Plaintiff shall notify the Court within 30 days of the
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issuance of this Order of its new counsel; and it is further

      ORDERED that Plaintiff’s counsel shall file a status report and/or updated

motion to withdraw within 30 days of the issuance of this Order; and it is further

      ORDERED that Plaintiff’s Consent Motion to Amend the Scheduling

Order, ECF No. 19, is denied; and it is further

      ORDERED that the remaining deadlines in Scheduling Order, ECF No. 18,

are stayed pending further order of this Court.



                                                         /s/ Jennifer Choe-Groves
                                                       Jennifer Choe-Groves, Judge

Dated:      July 11, 2022
         New York, New York
